       Case: 3:18-cv-00753-wmc Document #: 22 Filed: 05/23/19 Page 1 of 8


                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN

JUDY DAHL,

                            Plaintiff,                         OPINION AND ORDER
       v.
                                                                     18-cv-753-wmc
KOHN LAW FIRM S.C.,

                            Defendant.


       After plaintiff Judy Dahl allegedly notified her original creditors that she disputed

alleged debts, refused to pay them, and demanded they cease contacting her about them,

she received two letters from the Kohn Law Firm S.C. concerning some of those same

debts. Dahl filed suit, claiming that defendant Kohn Law violated the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”). Defendant now seeks to dismiss Dahl’s

complaint, arguing: (1) to trigger the cease-communications protection of § 1692c(c),

Dahl needed to contact Kohn Law directly in writing, as knowledge of similar requests to

original creditors is insufficient; (2) the letters were not actionable “communications”

under the FDCPA because they were informational rather than demands for payment; and

(3) even if the letters were “communications,” they were permissible under § 1692c(c)’s

exceptions because they notified Dahl of a remedy Kohn intended to invoke. (Dkt. #9.)

Given that the plain text of § 1692(c), the court agrees with at least the first and third

arguments, either of which are sufficient to dismiss plaintiff’s complaint. Accordingly, the

court need not reach the second argument.
       Case: 3:18-cv-00753-wmc Document #: 22 Filed: 05/23/19 Page 2 of 8


                                        BACKGROUND1

       On February 27, 2017, Dahl wrote to TD Bank USA and Discover Financial

Services, LLC:

               Don’t call me anymore at any number. Don’t send me any
               letters. Don’t email me. You or your company may not
               communicate with me at all. Stop all communication with me
               now for the account noted above. If you had my permission
               to call or write me, you don’t anymore. Stop Buggin me.

               I don’t owe you nothin’ -- especially for the account above.

               If you are taking money from my bank account or credit card,
               that must stop now to[o].

(Cease & Desist Letters (dkt. #1-2) 1, 6; Compl. (dkt. #1) ¶ 6.)

       In September 2017, Kohn Law nevertheless sent Dahl two letters. The second letter

provided in relevant part:

               This is to notify you that this firm was retained to represent
               Discover Bank to collect its claim against you for the balance
               owing on your Discover Card account. Discover has advised
               us that you have requested no further communications
               regarding this matter. However, federal law requires that we
               provide you with the following notices:
                                        *       *      *
               NOTICE: This letter communication is from a debt collector.
               We are attempting to collect a debt. Any information obtained
               will be used for that purpose. Under the Fair Debt Collection
               Practices Act, unless you dispute the validity of this debt, or
               any portion thereof, within thirty days of receiving this notice,
               we will assume that this debt is valid. If you notify us in writing
               within the thirty-day period that this debt, or any portion
               thereof, is disputed, we will obtain verification of the debt or a
               copy of the judgment (if any), and a copy of such verification
               or judgment will be mailed to you. Upon your written request
               within the thirty-day period, we will provide you with the name
               and address of the original creditor, if different from the

1
  These facts are drawn from the complaint and the letters attached thereto. See Fed. R. Civ. P.
10(c) (“A copy of a written instrument that is an exhibit to a pleading is a part of the pleading for
all purposes.”).
                                                 2
       Case: 3:18-cv-00753-wmc Document #: 22 Filed: 05/23/19 Page 3 of 8


              current creditor.

(Sept. 19, 2017 Letter (dkt. #1-3) 2.) The first letter concerning a Target credit card is

substantially the same, but begins with the sentence “We are writing to notify you that we

have been retained by the creditor named above involving your client’s Target credit card

account.” (Sept. 11, 2017 Letter (dkt. #1-3) 1.)

       Dahl alleges that receipt of these two letters made her “believe that her attempt to

exercise her rights under the FDCPA had been futile, and that she did not have the rights

Congress had granted her under the FDCPA.” (Compl. (dkt. #1) ¶ 9.)



                                         OPINION

       A motion to dismiss under Rule 12(b)(6) is designed to test the complaint’s legal

sufficiency. See Fed. R. Civ. P. 12(b)(6). The court must “constru[e] the complaint in the

light most favorable to the plaintiff, accepting as true all well-pleaded facts alleged, and

drawing all possible inferences in [the plaintiff’s] favor.” Hecker v. Deere & Co., 556 F.3d

575, 580 (7th Cir. 2009). Dismissal is warranted only if no recourse could be granted

under any set of facts consistent with the allegations. Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009); Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 563 (2007).

       To survive a motion to dismiss, a plaintiff must allege sufficient facts to state a

plausible claim for relief. Spierer v. Rossman, 798 F.3d 502, 510 (7th Cir. 2015) (citing

Twombly, 550 U.S. at 570). “[W]hen it is ‘clear from the face of the complaint, and matters

of which the court may take judicial notice, that the plaintiff’s claims are barred as a matter

of law,’ dismissal is appropriate.” Parungao v. Cmty. Health Sys., Inc., 858 F.3d 452, 457

(7th Cir. 2017) (quoting Conopco, Inc. v. Roll Int’l, 231 F.3d 82, 86 (2d Cir. 2000)).


                                              3
       Case: 3:18-cv-00753-wmc Document #: 22 Filed: 05/23/19 Page 4 of 8


Defendant contends that plaintiff has affirmatively pleaded herself out of court as to any

claim under the FDCPA.

       The FDCPA states that “[i]f a consumer notifies a debt collector in writing that the

consumer refuses to pay a debt or that the consumer wishes the debt collector to cease

further communication with the consumer, the debt collector shall not communicate

further with the consumer with respect to such debt,” with three exceptions that will be

addressed later below. 15 U.S.C. § 1692c(c). To be actionable under § 1692(c), therefore,

defendant maintains this language requires that plaintiff provide a written notification

directly to a debt collector, rather than to the original creditors, and that pleading

defendant’s knowledge of notice to the creditor is insufficient to trigger the FDCPA’s

protections. (Opening Br. (dkt. #10) 4-8.)

       To date, only a handful of district courts appear to have considered whether a

consumer’s written notice to the underlying creditor is sufficient to trigger the protections

of § 1692c(c) from communications by the creditor’s retained debt collector, and the courts

that have considered this question are split with a slight weight of authority requiring a

consumer to notify the debt collector directly and in writing. See Taufen v. Messerli & Kramer,

P.A., No. 12-2050 (DWF/JJG), 2014 WL 668019, at *7 (D. Minn. Feb. 19, 2014)

(“[R]equiring a debtor . . . to individually send letters to subsequent debt collectors to

whom the debtor’s account is transferred after sending written notification to cease

communication to a prior debt collector about the same debt, and where the subsequent

debt collector has actual knowledge of the cease and desist status, would be too strict of an

interpretation of a remedial statute designed to protect consumers.”); Micare v. Foster &

Garbus, 132 F. Supp. 2d 77, 81 (N.D.N.Y. 2001) (“[I]n order to prevail on a claim pursuant
                                              4
       Case: 3:18-cv-00753-wmc Document #: 22 Filed: 05/23/19 Page 5 of 8


to § 1692c(c), a plaintiff must establish that he notified the defendant debt collector in

writing that he refused to pay the debt or that communications should cease.” (citing

O’Connor v. Check Rite, 973 F. Supp. 1010, 1017 (D. Colo. 1997)); Maldonado v. Lyons,

Doughty, & Veldhuis, P.C., No. 13-1825, 2014 WL 1297612, at *3 (D. N.J. Mar. 31, 2014)

(“The plain language of the statute requires a written communication directly to the debt

collector. Accordingly, in order to prevail on a claim pursuant to § 1692c(c), a plaintiff

must establish that he notified the defendant debt collector in writing that he refused to

pay the debt or that communications should cease.” (quoting Micare, 132 F. Supp. 2d at

81)); Danow v. Borack, No. 05-61562-CIV-MARTINEZ/BANDSTRA, 2007 WL 9724304,

at *1 (S.D. Fla. Feb. 27, 2007) (“The plain language of [§ 1692c(c)] requires a written

communication directly to the debt collector.” (citing Micare, 132 F. Supp. 2d at 81)).2

       As quoted above, the text of § 1692c(c) certainly provides support for requiring a

debtor to provide notice directly to the debt collector in writing. In contrast, other portions

of § 1692c expressly restrict debt collectors’ ability to communicate with consumers based

on the debt collector’s knowledge alone without regard to the source of that knowledge. See,

e.g., 15 U.S.C. § 1692c(a)(1) (prohibiting contacting consumers at “a time or place known

or which should be known to be inconvenient”); id. § 1692c(a)(2) (prohibiting contacting

a consumer “the debt collector knows . . . is represented by an attorney” under certain

circumstances); id. § 1692c(a)(3) (prohibiting contacting a consumer at his “place of

employment if the debt collector knows or has reason to know” contact is prohibited by




2
 In Danow, the Southern District of Florida denied defendants’ motion to dismiss because plaintiff’s
amended complaint alleged that plaintiff had notified the named defendants in writing that he was
unable to pay and wished for the calls to his house to cease. 2007 WL 9724304, at *1.
                                                 5
       Case: 3:18-cv-00753-wmc Document #: 22 Filed: 05/23/19 Page 6 of 8


the employer). Only if the consumer then provides consent “directly to the debt collector”

would these prohibitions not apply. 15 U.S.C. § 1692c(a). Likewise, § 1692c(b) generally

prohibits contact with third parties about a debtor owing money absent “prior written

consent of the consumer given directly to the debt collector.” Id.

       As this court itself previously observed in Sellers v. State Collection Service, Inc., No.

15-cv-148-jdp, 2016 WL 1179231 (W.D. Wis. Mar. 24, 2016), however, “[t]he plain

language of section 1692c(c) requires written notification. ‘The text articulates no other

circumstances requiring a debt collector to cease communications.’” Id. at *4 (quoting

Henderson v. Nationstar Mortg., LLC, No. 14-cv-8194, 2015 WL 2375258, at *2 (N.D. Ill.

May 15, 2015))). Whether as a matter of policy it would make more sense to permit

knowledge of a prior written notice to trigger these protections is open to debate.3 In

drafting § 1692c(c), however, Congress appears to have deliberately chose not to prohibit

debt collectors from communicating with consumers based on knowledge alone of the

consumer’s desire for the cessation of communications or refusal to pay. Thus, it is for

Congress, not the court to address such a change.

       Here, plaintiff’s complaint only alleges that Dahl sent notice of her position to her

creditors and that the defendant debt collector acknowledged those letters in writing to her.

Plaintiff does not allege that she provided similar written notice to the defendant.

Accordingly, plaintiff’s complaint fails to state a claim upon which relief can be granted

under § 1692c(c).


3
  Plaintiff argues proof of a debt collector’s knowledge that a consumer has disputed a debt and
asked not to be contacted in writing, even if provided only to the debt holder, should be sufficient
to prevent further follow up, but this ignores the separate role of the debt collector in seeking a
resolution of the dispute between a consumer and the debt holder or pursuing formal collection
proceedings.
                                                 6
       Case: 3:18-cv-00753-wmc Document #: 22 Filed: 05/23/19 Page 7 of 8


       Even if the defendant’s communications were prohibited by § 1692c(c), they also

appear to meet two, statutory exceptions to that prohibition.4 The FDCPA provides three

types of permissible communications from a debt collector to a consumer following a

consumer’s invocation of § 1692c(c)’s cease-communication protection:

              (1) to advise the consumer that the debt collector’s further
                  efforts are being terminated;
              (2) to notify the consumer that the debt collector or creditor
                  may invoke specified remedies which are ordinarily invoked
                  by such debt collector or creditor; or
              (3) where applicable, to notify the consumer that the debt
                  collector or creditor intends to invoke a specified remedy.

15 U.S.C. § 1692c(c)(1)-(3).

       Both (2) and (3) of § 1692c(c) are satisfied on the face of plaintiff’s pleading. In

addition to identifying the creditor, debtor and balance owed, as well as advising plaintiff

of defendant’s representation of the creditor, both of defendant’s letters notified her that:

she had thirty days to dispute the validity of the debt or defendant would assume it valid;

if she disputed the debt, defendant would verify it; and if verified, defendant would provide

her with the verification. (Sept. 11, 2017 Letter (dkt. #1-3) 1; Sept. 19, 2017 Letter (dkt.

#1-3) 2.) Likewise, the letters notified her that she would be provided the name and

address of the original creditor, if requested. (Id.) Each of these letters, therefore, appear

to at least satisfy exceptions (2) and (3) under § 1692g(a). See Maldonado, 2014 WL

1297612, at *1, *3 (concluding letter from debt collector complied with 15 U.S.C. §

1692c(c)(2) and (3) where letter informed consumer: (a) that debt collector represented

creditor, (b) that creditor informed debt collector about request for no further


4
 “Generally speaking, a communication from a debt collector to a debtor is not covered by the
FDCPA unless it is made ‘in connection with the collection of any debt.’” Gburek v. Litton Loan
Servicing LP, 614 F.3d 380, 382 (7th Cir. 2010) (citing 15 U.S.C. §§ 1692c, 1692e).
                                              7
       Case: 3:18-cv-00753-wmc Document #: 22 Filed: 05/23/19 Page 8 of 8


communication, and (c) debt balance). Accordingly, plaintiff’s complaint fails to state a

claim upon which relief can be granted under these exceptions as well.



                                          ORDER

       IT IS ORDERED that defendant’s motion to dismiss (dkt. #9) is GRANTED. The

clerk of court is directed to close this case and enter judgment in defendant’s favor.

       Entered this 23rd day of May, 2019.

                                          BY THE COURT:

                                          /s/
                                          __________________________________
                                          WILLIAM M. CONLEY
                                          District Judge




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